

People v Green (2023 NY Slip Op 00500)





People v Green


2023 NY Slip Op 00500


Decided on February 02, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 02, 2023

Before: Kapnick, J.P., Friedman, Gesmer, Moulton, Mendez, JJ. 


Ind. Nos. 0118/16 2003/16 Appeal No. 17228 Case No. 2018-2249 

[*1]The People of the State of New York, Respondent,
vJoseph Green, Defendant-Appellant. 


Justine Luongo, The Legal Aid Society, New York (Susan Paulson of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (John T. Komondorea of counsel), for respondent.



Appeal from judgments, Supreme Court, Bronx County (Ralph Fabrizio, J.), rendered October 30, 2017, convicting defendant, upon his pleas of guilty, of attempted robbery in the first degree and attempted criminal possession of a weapon in the second degree, and sentencing him to an aggregate term of four years, unanimously dismissed as moot.
This appeal, claiming excessiveness of sentence, is moot because defendant has completed all components of his sentence including postrelease supervision.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 2, 2023








